
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit

                                 ____________________

        No. 96-1535

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                    TARIQ PERVAZ,

                                Defendant, Appellant.


        No. 96-1536

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   JIMMIE ALZAMORA,

                                Defendant, Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                       [Hon. Mary M. Lisi, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            William J.  Murphy for appellant  Tariq Pervaz,  Thomas G. Briody,
            __________________                               ________________
        for appellant Jimmie Alzamora.
















            Sheldon Whitehouse,  United States Attorney,  with whom Andrew  J.
            __________________                                      __________
        Reich, Assistant United States Attorney, was on brief for appellee.
        _____


                                 ____________________

                                    June 24, 1997
                                 ____________________













































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                      BOWNES,        Senior        Circuit         Judge.
                      BOWNES,        Senior        Circuit         Judge.
                                     ___________________________________

            Defendants/Appellants  Jimmie Alzamora and  Tariq Pervaz were

            indicted and charged  with seven counts of  fraud and related

            activities   involving  access  devices  to  telephone  calls

            transmitted by cellular phones, in  violation of 18 U.S.C.   

            1029(a)(1),  (a)(2), (a)(3),  (a)(4), (a)(5),  (a)(6), and   

            1029(b)(2) (conspiracy to commit offenses).

                      There was  a  hearing in  the district  court on  a

            motion  to suppress  filed  by  Alzamora  and  Pervaz.    The

            suppression motion  was denied.  Alzamora  and Pervaz entered

            conditional  pleas  of guilty  to  all  seven  counts of  the

            indictment,  reserving  their  right to  appeal  the district

            court's denial of the suppression motion.  

                      Alzamora   was   sentenced   to   fourteen   months

            imprisonment and ordered to pay restitution in the  amount of

            $190,275,33.    Pervaz  was  sentenced  to   eighteen  months

            imprisonment  and  ordered to  pay  restitution  in the  same

            amount as  Alzamora --  $190,275,33.  Both  defendants appeal

            their convictions and the restitution order.   Pervaz has not

            filed a brief on appeal;  he has chosen to rely on  the brief

            filed  by  his  co-defendant   Alzamora.    Except  as  noted

            otherwise, we treat both defendants as one in this opinion.

                                  STANDARD OF REVIEW
                                  STANDARD OF REVIEW
                                  __________________

                      The  applicable standard  of  review has  been  set

            forth in detail in Ornelas v. United States, 116 S. Ct. 1657,
                               ________________________



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            1661-63 (1996).   We condensed  that teaching  in the  recent

            case of United  States v. Khounsavanh, No. 96-1244,  slip op.
                    _____________________________

            at 4-5 (1st Cir. May 16, 1997):

                           In   reviewing   a   denial   of   a
                      suppression motion,  the district court's
                      ultimate legal  conclusion, including the
                      determination that a  given set of  facts
                      constituted probable cause, is a question
                      of law  subject to  de novo review.   See
                                          __ ____           ___
                      Ornelas  v. United  States,  116  S.  Ct.
                      __________________________
                      1657,  1659  (1996);  United   States  v.
                                            ___________________
                      Zayas-Diaz, 95  F.3d  105, 111  n.6  (1st
                      __________
                      Cir.   1996).     The   district  court's
                      findings (if any)  of historical facts --
                      "the events which occurred leading  up to
                      the . . . search," Ornelas, 116 S. Ct. at
                                         _______
                      1661 --  must be  upheld unless  they are
                      clearly  erroneous.    See  id.  at 1663;
                                             ___  ___
                      Zayas-Diaz,  95  F.3d  at  111  n.6.    A
                      __________
                      reviewing court must  "give due weight to
                      inferences  drawn  from  those  facts  by
                      resident judges and local law enforcement
                      officers."  Ornelas, 116 S. Ct. at  1663.
                                  _______
                      But    "the   decision    whether   these
                      historical   facts,   viewed   from   the
                      standpoint  of an  objectively reasonable
                      police officer,  amount to . . . probable
                      cause" is  a  mixed question  of law  and
                      fact  which we  review de  novo.   Id. at
                                             __  ____    ___
                      1661-63.1






                                
            ____________________

            1.  We are surprised  in light of Ornelas by the government's
                                              _______
            statement in its brief at page 27:

                           The magistrate's finding of probable
                      cause to support  the warrant is entitled
                      to great  deference.   United  States  v.
                                             __________________
                      Ciampa,  793  F.2d   19,  22  (1st   Cir.
                      ______
                      1996)[sic].



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                                      THE FACTS
                                      THE FACTS
                                      _________

            A)  Background
            A)  Background
                __________

                      Defendants  were  convicted  of  taking  part  in a

            telephone "cloning" operation.   Some background  information

            is  necessary.   Cellular phones  transmit messages  by radio

            waves, not  wires.  Telephone companies,  e.g., AT&amp;T, Sprint,

            and  MCI, offer their customers  the use of  an access device

            number  called  a mobile  identification number  (MIN), which

            allows customers  to make  and receive  both  local and  long

            distance  telephone  calls through  their  cellular telephone

            carriers, e.g., Cellular  One,  Mobile  Communications, SNET,

            and COMCAST.  Cellular  telephone customers are also assigned

            Electronic Serial Numbers (ESN) for their phones.  Both  MINs

            and  ESNs  are  access  devices within  the  meaning  of  the

            statute, 18 U.S.C.   1029(e)(1).

                      Cellular  telephone  subscribers  are   assigned  a

            combination  of an MIN and an ESN to access cellular service.

            The MIN/ESN  combination number also  is used by  the carrier

            for  billing its  cellular  phone subscribers.   The  MIN/ESN

            access  combination is  programmed on  "Erasable Programmable

            Read Only Memory" (EPROM) located on a computer chip which is

            part of the circuitry of the telephone.

                      A  cellular  telephone  "cloning"  operation  is  a

            scheme  to defraud  in which  MIN/ESN combinations  issued to

            subscribers  are stolen and reprogrammed on a nonsubscriber's



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            cellular telephone so  as to obtain  use of the  subscriber's

            account.    The  cloning  is accomplished  by  attaching  the

            nonsubscriber's cellular phone to a personal computer through

            a specially  designed interface cable.  The  cable, used with

            customized  cloning  software,  gains access  to  the "EPROM"

            computer chip  and the stolen  MIN/ESN  number  is programmed

            onto the computer chip in the nonsubscriber's cellular phone.

            Customers  pay those running  the fraudulent scheme  a fee to

            use the stolen MIN/ESN  numbers to make local, long  distance

            or international phone calls  which are billed to  the stolen

            account.  The fee is, of course, less than the regular rates.

            The  subscriber does not know that his access number is being

            used by others until he gets his telephone bill.

            B)  Suppression Hearing Evidence
            B)  Suppression Hearing Evidence
                ____________________________

                      At  the outset  of  our rehearsal  of the  evidence

            adduced  at the  suppression hearing,  we caution  the reader

            that the dates of conversations  and events are an  important

            factor in our determination whether the employees of Cellular

            One  of Boston (COB) were  acting as government  agents.  The

            case,  for our purposes,  begins on September  13, 1995, when

            employees of  Southern New  England Telephone  Company (SNET)

            and  Cellular One  of Rhode Island  (CORI) informed  the U.S.

            Secret Service  that  a disproportionately  large  number  of

            international telephone calls were being made from a cellular

            phone (or phones) located in Cranston, Rhode Island.



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                      The  Secret  Service, through  Special  Agent James

            Barnard,  called CORI the next day (September 14) for further

            information  and talked  to Dan  Mott, a  service technician.

            Mott told Barnard  that a number  of the international  calls

            had been made with MINs which were not in the calling area to

            which  the  MINs were  ordinarily  designated.   Barnard  was

            further  informed  by Mott  that  the calls  were  being made

            through one cellular phone location.   Barnard asked if  Mott

            had any equipment that  could pinpoint the exact site  of the

            calls; Mott said that he did not have such equipment.

                      On  September 14,  1995, Barnard called  the Secret

            Service  Office in  Boston and  inquired whether  it had  any

            site-location equipment.  He  was told that it did  have such

            equipment  but that it was  not available.   Barnard was also

            told that COB might be able to help him.

                      Barnard  called COB later  the same  day (September

            14) and talked to  Ron Anderson.  He explained  the situation

            and asked if COB  had equipment that could locate  the source

            of  the  cloned calls.    Barnard advised  Anderson  that COB

            customers  were among  those being  defrauded by  the cloning

            operation.  Anderson told Barnard that COB had equipment that

            would help locate the exact source  of the calls, but that he

            would  have  to check  with  COB's  legal department  to  see

            whether the equipment could  be used in Rhode Island.   After

            being  told  by  Anderson  that COB's  customers  were  being



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            defrauded, COB's legal  department advised Anderson that  the

            tracking equipment could be used in Rhode Island.  Instead of

            calling Barnard back as promised,  Anderson and two other COB

            employees went  to Cranston,  Rhode Island, the  afternoon of

            September 14 in a van carrying the tracking equipment.  

                      The  frequencies  used  to make  the  international

            calls  were  obtained by  Anderson  from SNET.    Using these

            frequencies,  Anderson and his  crew proceeded in  the van to

            the general source area of the calls.  The tracking equipment

            was  then put into operation.  Anderson and the two other men

            (Dan Valios  and Rick  Wade) monitored the  frequency of  the

            cellular  phone   calls  and   also  listened  to   telephone

            conversations.     Wade  testified   that  they   could  have

            determined the source of the phone calls without listening to

            the  phone  conversations, but  that  the  audio interception

            established that the tracking equipment was working properly.

            He also testified that the intercepted conversations were not

            in English and that none of those in the van understood  what

            was being said.  After driving around Cranston for about half

            an  hour,  the tracking  equipment  pointed  to two  adjacent

            houses as the probable source site.   Wade got out of the van

            and using a hand-tracking device pinpointed the source of the

            calls  as the left side of  the first floor of a multi-family

            dwelling with the address of 156-158 Woodbine Street.  





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                      Anderson  called Agent  Barnard  after  the  source

            phone site had  been pinpointed and informed Barnard  of what

            had  been done.   The  following day,  September 15,  Barnard

            applied for and obtained a warrant to search the apartment on

            the  left  side  of  the building  at  156  Woodbine  Street,

            Cranston,  Rhode  Island.     The  warrant  was  executed  on

            September  15.   Federal  agents arrested  defendants on  the

            premises and seized a number of cellular telephones, computer

            equipment and other evidence of the cloning operation.

                                      THE ISSUES
                                      THE ISSUES
                                      __________

                      Before we address the  main issues -- whether COB's

            employees were acting as  government agents, and the legality

            of the search warrant -- we consider two issues raised by the

            government.   The  first  is the  government's argument,  not

            raised in the district  court, that because neither defendant

            had a privacy interest in the apartment searched, neither had

            standing to  challenge  the legality  of  the warrant.    The

            government  argues that it  had no duty  to assert a  lack of

            privacy interest  below because defendants had  the burden of

            proving it.  We are reluctant to allow the government to trap

            an unwary defendant by raising a lack of privacy interest for

            the first time on  appeal unless it is absolutely  clear that

            the  defendant  had  no  privacy interest  in  the  premises,

            vehicle, or container searched.  See United States  v. Soule,
                                             ___ _______________________





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            908  F.2d  1032, 1034-36  (1st Cir.  1990); United  States v.
                                                        _________________

            Miller, 636 F.2d 850, 853-54 (1st Cir. 1980).
            ______

                      This is not such  a case.  The following  facts can

            be fairly found or inferred from the record:  Defendant Peraz

            leased the premises.  He  and defendant Alzamora were friends

            or, at least,  partners in  crime.  Alzamora  moved into  the

            apartment  where the  fraudulent  phone calls  were made  and

            remained there  several  days with  the blinds  drawn.   Both

            defendants  were  in  the  apartment  when  the  warrant  was

            executed.   These facts are  not sufficient for  us to decide

            the privacy question one way or the other.

                      In  Combs v.  United States,  408 U.S.  224, 226-27
                          _______________________

            (1972),  the Court held that  where the court  of appeals had

            found  no  standing and  the  government  had not  challenged

            defendant's standing in the  district court, the issue should

            be remanded to the district court so the defendant could have

            an  opportunity  to  show  standing.    In United  States  v.
                                                       __________________

            Bouffard,  917  F.2d  673  (1st Cir.  1990),  the  government
            ________

            conceded  standing in the district court and on appeal, but a

            privacy  interest was not apparent  on the record.   We held:

            "Considerations  of fundamental  fairness  warrant remand  in

            order to afford  the defendant an  opportunity to attempt  to

            establish the requisite expectation of privacy."  Id. at 677.
                                                              ___

            There are cases in other circuits that are  directly critical

            of  the  government's  failure  to address  standing  in  the



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            district court.  In  United States v. Dewitt, 946  F.2d 1497,
                                 _______________________

            1500 (10th  Cir.  1991), the  court  held:   "The  government

            offers  no excuse for its failure to raise the standing issue

            in a timely fashion at the suppression hearing.  Accordingly,

            the argument is  waived."   The court relied  on Steagald  v.
                                                             ____________

            United  States, 451  U.S. 204  (1981).   In United  States v.
            ______________                              _________________

            Morales,  737  F.2d  761,   763  (8th  Cir.  1984)  (footnote
            _______

            omitted), the Eighth Circuit held:

                      Despite appellant's failure to prove that
                      he  had  a   legitimate  expectation   of
                      privacy  in room 141, we nonetheless find
                      that   because    of   the   inconsistent
                      positions  the  government  has taken  at
                      trial    and    on   appeal    concerning
                      appellant's    alleged   disclaimer    of
                      knowledge of the key, the  government has
                      lost its right  to challenge  appellant's
                      standing.  

                      If the privacy question was vital, we would, at the

            very  least,  remand  to   the  district  court  for  factual

            findings.    Because, however,  it  is  not, we  will  assume

            standing for purposes of this appeal.

                      The other argument  the government makes is  purely

            legal:     There   was   no  violation   of  the   Electronic

            Communications  Privacy  Act because  locating  a transmitter

            broadcasting   on  a  radio  frequency  does  not  constitute

            "intercepting"   a   communication   under   the   Electronic

            Communications Privacy Act (ECPA),  18 U.S.C.   2510  et seq.
                                                                  ______

            We  are  aware that  there are  cases  holding that  users of

            cellular phones  are not  protected by the  Fourth Amendment.


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            See In  Re Askin, 47  F.3d 100, 104  (4th Cir.  1995); United
            ___ ____________                                       ______

            States v. Smith, 978 F.2d  171, 174-76 (5th Cir. 1992).   The
            _______________

            operative facts  in these  cases, however, took  place before

            the provision in 18 U.S.C.   2510(1) expressly excluding  the

            radio portion of a  cordless telephone communication from the

            protection of the Act was deleted by  amendment in 1994.  See
                                                                      ___

            Pub.  L. No. 103-414    202(a)(1).  Moreover,  in the instant

            case,  more took  place than  just locating  the source  of a

            radio  frequency;  those  tracking  the  broadcast  frequency

            listened to the actual conversations being transmitted.  This

            appears to  be covered by the Act.  We see no point, however,

            in  deciding  what  appears  to  be  a  thorny  question  not

            necessary to our  decision.  We  follow the district  court's

            lead and assume, without deciding, that the Act applies.   

            A)  Issues Raised by Defendants
            A)  Issues Raised by Defendants
                ___________________________

                      The  first  issue  is  whether  the   employees  of

            Cellular One of Boston (COB) were acting as government agents

            when they  tracked the radio frequency of the cloned cellular

            phone.  Under 18  U.S.C.   2511(2)(a)(i), it is  not unlawful

            for  the  employee  of  a  provider  of  wire  or  electronic

            communication  services  whose  facilities are  used  in  the

            transmission  of  wire   or  electronic  communication,   "to

            intercept, disclose, or use  that communication in the normal

            course of his employment while engaged in any  activity which

            is a necessary incident to the rendition of his service or to



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            the protection of the  rights or property of the  provider of

            that  service . . . ."  The following subsection, (2)(a)(ii),

            authorizes   such   employees   "to    provide   information,

            facilities,  or technical assistance to persons authorized by

            law to intercept wire, oral, or electronic communications . .

            . ."

                      It  is evident  that COB's  employees, on  learning

            from  Secret Service  Agent Barnard  that COB  customers were

            being  defrauded by  the cloning  operation, had  a statutory

            right to track the  radio frequency of the cloned  phone.  If

            the  COB  employees  were  government  agents,  however,  the

            requirements of the Fourth Amendment would override statutory

            authority.

                      The question remains, were  the employees acting as

            agents of  the government?   See United  States v.  Mendez-de
                                         ___ ____________________________

            Jesus,  85 F.3d 1, 2-3 (1st Cir. 1996) (Fourth Amendment does
            _____

            not  apply to private  action unless  private party  acted as

            agent or instrument of government.)

                      Various  tests  have   developed  for   determining

            whether a  private entity  has acted as  a government  agent.

            For example, see United  States v. Pierce, 893 F.2d  669, 673
                         ___ ________________________

            (5th  Cir.  1990).   The Sixth  Circuit  in United  States v.
                                                        _________________

            Lambert,  771 F.2d 83 (6th Cir.  1985) has stated the rule as
            _______

            follows:

                      A person  will not be acting  as a police
                      agent  merely  because  there   was  some


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                      antecedent  contact  between that  person
                      and  the   police.    United   States  v.
                                            ___________________
                      Coleman,  628 F.2d at  965.   Rather, two
                      _______
                      facts must  be shown.  First,  the police
                      must   have  instigated,   encouraged  or
                      participated in the search.  Id.  Second,
                                                   ___
                      the individual must  have engaged in  the
                      search with  the intent of  assisting the
                      police in their investigative efforts.

            Id. at  89.   The Ninth  Circuit has held  that, "two  of the
            ___

            critical factors  in the 'instrument or  agent' analysis are:

            (1) the government's knowledge  and acquiescence, and (2) the

            intent of the party performing the search."  United States v.
                                                         ________________

            Walther, 652 F.2d 788, 792 (9th Cir. 1981).  In United States
            _______                                         _____________

            v. Attson, 900  F.2d 1427,  1433 (9th Cir.  1990), the  Ninth
            _________

            Circuit added a gloss to its rule:

                      [A]   party  is  subject  to  the  fourth
                      amendment only when he or she has  formed
                      the necessary  intent  to assist  in  the
                      government's investigative or administra-
                      tive functions;  in other words,  when he
                      or she  intends to engage in  a search or
                      seizure.  However,  under this test,  the
                      fourth amendment will  not apply when the
                      private party  was  acting for  a  reason
                      that   is   independent    of   such    a
                      governmental purpose.

            In United States  v. Smythe,  84 F.3d 1240,  1243 (10th  Cir.
               ________________________

            1996), the  Tenth Circuit  requires that the  government must

            "affirmatively  encourage or  instigate the  private action."

            This is determined by "the totality of the circumstances."

                      We think that any  specific "standard" or "test" is

            likely to be oversimplified or too general to be of help, and

            that all of the  factors mentioned by the other  circuits may



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            be pertinent in different  circumstances:  the extent  of the

            government's role  in  instigating or  participating  in  the

            search, its  intent and  the degree  of control  it exercises

            over  the search  and the  private party,  and the  extent to

            which the private party aims primarily to help the government

            or to serve its own interests.

                      Our review of the  suppression hearing evidence and

            the  district court's  findings of  historical facts  is made

            through  a  lens adjusted  for clear  error  viewing.   It is

            probably  true that there would  have been no  search made by

            COB  employees were it not for Agent Barnard's telephone call

            inquiring  about equipment  for  locating the  source of  the

            transmissions and informing COB that its customers were being

            defrauded.  But there is  no evidence that Barnard authorized

            the search  or even knew about it.   COB employee Anderson in

            answer  to  Barnard's query  about  whether  COB had  source-

            location equipment said  that it  did, but he  would have  to

            check with the legal department to see if it could be used in

            Rhode Island.  Anderson  told Barnard that he would  call him

            back.   He did  not do  so.   Instead, he  and the other  two

            employees  went  to  Cranston,   Rhode  Island,  and  started

            tracking the radio  signals on their  own.  Their  motivation

            was that COB's  customers were being defrauded.   Barnard was

            ignorant  of what was transpiring.  COB had a statutory right

            to investigate  and  search  for the  sources  of  the  radio



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            transmitted  phone calls.   It  had a  legitimate independent

            motivation for its  search:   to prevent a  fraud from  being

            perpetrated  on its  customers.   That is  the purpose  of 18

            U.S.C.   2511(2)(a)(i) and (ii).

                      Our combined clear error  review of the  historical

            facts  and de novo review of  the district court's conclusion
                       __ ____

            compels a holding that there was no government action in this

            case.2

            B)  The Affidavit and Search Warrant
            B)  The Affidavit and Search Warrant
                ________________________________

                      We next consider defendant's claim that the search-

            warrant affidavit submitted  by Special Agent  Barnard lacked

            probable cause.  Keeping  in mind the standard of  review, we

            have examined the eight-page affidavit meticulously.

                      Paragraph 1  identifies  the affiant  and  explains

            that  his  routine  duties  include   "the  investigation  of

            violations of federal laws pertaining to the unauthorized use

            of access devices."  The  next paragraph, (2), describes  the

            premises to be searched.  This will be discussed in detail in

            the next part of the opinion.


                                
            ____________________

            2.  Ornelas called for de novo review of the district court's
                _______            __ ____
            conclusion that a given  set of historical facts rose  to the
            level of probable  cause.  116 S. Ct. at 1659.  The Court did
            not specifically  decide whether  a similar de  novo standard
                                                        __  ____
            should  be  applied  to the  legal  question  at  issue here:
            whether  a private entity has acted as a government agent for
            Fourth  Amendment purposes.   Because the  defendants' appeal
            fails  even under  the  more searching  de novo  standard, we
                                                    __ ____
            assume  without deciding  that the  Ornelas de  novo standard
                                                _______ __  ____
            applies.

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                      Paragraph  3 states  that  the  government  (Secret

            Service) has been conducting  an investigation of a telephone

            fraud scheme in  Cranston, Rhode Island.   The next paragraph

            gives the names  and addresses of  individuals with whom  the

            affiant had spoken in the course of the investigation.

                      Paragraph  5 explains the use of  MIN numbers as an

            access device,  which we  have already  covered in the  Facts

            section  of  this  opinion.    In  paragraph 6,  the  affiant

            expresses his belief that individuals are using telephones at

            the   location  described   in  paragraph   2  to   commit  a

            telecommunications fraud  scheme.  This paragraph  goes on to

            state  that individuals  have  "captured" valid  MIN and  ESN

            numbers "into mobile telephones" "and are using these numbers

            fraudulently to  make telephone calls internationally  by way

            of telephone credit card account numbers."

                      Paragraph 7 explains  that the MIN/ESN  combination

            is  programmed on  "Erasable  Programmable Read  Only  Memory

            (EPROM)",  located  on a  computer  chip  within the  general

            circuitry of the telephone.  Paragraph 8 describes a cellular

            telephone cloning operation.  This has already been set forth

            in the Facts section of this opinion.

                      Paragraph 9 describes  a "call  sell" operation  by

            which a  customer pays a  fee for making  long-distance phone

            calls  which are  billed  to the  stolen credit  card account

            numbers.   Paragraph 10 recites that  long-distance calls are



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                                         -17-















            being  made  by unidentified  individuals  from  156 Woodbine

            Street,  Cranston,  Rhode  Island,  from   "cloned"  cellular

            phones.  It is then stated:

                      After accessing a  long distance  carrier
                      the  individual  enters  a   credit  card
                      number to which to bill the international
                      call.     Subsequently,   the  individual
                      defrauds the mobile telephone  company of
                      the revenues  due them for  air time  and
                      defrauds the issuing credit  card company
                      for revenues  due them  for  tolls.   The
                      defrauded company will have to  issue the
                      subscriber  a  credit for  the fraudulent
                      billing, thereby,  incurring the monetary
                      loss.

                      Paragraph 11  states in effect that  Secret Service

            Agent John Enright  received information  from Cheryl  Maher,

            Fraud Manager of Cellular  One Rhode Island, that individuals

            were using "cloned" phones  "to access long distance carriers

            such  as MCI,  Sprint  and AT&amp;T  and  are using  credit  card

            telephone numbers to make international calls."  Paragraph 12

            recites a telephone  call received by Agent  Barnard from Jan

            Mott, a  Cellular One technician, giving  him essentially the

            same  information  recited in  paragraph  11.   Paragraph  13

            recites   further  information  received   from  Mott.     It

            concludes:  "Mott  stated that since the telephone calls were

            mostly being made from  one site (site 29) it  indicated that

            the caller was not mobile but was stationary."

                      Paragraph  14 states  that on  September 14,  1995,

            Agent  Barnard  (affiant)  spoke with  Secret  Service  Agent

            Rodriguez  of the  Financial  Crimes Division  of the  Secret


                                         -18-
                                         -18-















            Service.    Rodriguez told  him that  when  a caller  using a

            cellular  phone accesses a  credit card company  such as MCI,

            Sprint  or AT&amp;T  through an  access number,  the credit  card

            number  used is not recorded  by Cellular One.   Paragraph 15

            recites briefly the same facts we have described fully in the

            government-agency section of this opinion.

                      Paragraph 16 states that  Rick Wade, an employee of

            Cellular  One, had  its telephone  switch office  monitor the

            international telephone  calls from Cranston,  Rhode Island.3

            This  established that  twenty-five  telephone  numbers  were

            identified as originating from 156 Woodbine Street, Cranston,

            Rhode Island.   The total  time of the  calls was  151 hours,

            normally billed at $.75 per minute.  The calls continued over

            a  24-hour period.   Paragraph  17 states  that Maher  (Fraud

            Manager  of Cellular  One  Rhode Island,  see paragraph  11),

            provided a  partial list  of telephones  that appear to  have

            been cloned and are being used in the Cranston, Rhode Island,

            area.  The numbers are listed.

                      Paragraphs 18, 19, and 20 recite the experience and

            training of  the  affiant.   Paragraph  21 is  the  affiant's

            "probable cause" statement.




                                
            ____________________

            3.  It  is clear  from  Wade's testimony  at the  suppression
            hearing  that  this  was  done  after  the  apartment at  156
                                            _____
            Woodbine  Street had  been pinpointed  as  the source  of the
            cloned calls.

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                                         -19-















                      Based on our  de novo review  of the affidavit  and
                                    __ ____

            the  facts leading  to the  district court's  conclusion that

            there was probable cause  to issue the warrant, we  hold that

            there was probable cause for issuing the search warrant.

                      The  next issue  is  the validity  of the  warrant.

            Defendant claims  that the  warrant was defective  because it

            inaccurately described the place to be searched.  The warrant

            affidavit described the premises to be searched as follows:

                      I make  this  affidavit in  support of  a
                      search warrant for the two  bedroom first
                      floor apartment of the  residence located
                      at 156 Woodbine  Street, Cranston,  Rhode
                      Island,  further  described  as  a  three
                      story, wood framed building with a yellow
                      front, brown trim and  brown sides.   The
                      number 156 appears on  a post next to the
                      door  on  the  left   as  one  faces  the
                      building.   On  the  first floor  are two
                      apartments which are accessed through the
                      door marked 156.  The apartment for which
                      this warrant is sought is the two bedroom
                      apartment on the left  side of the  first
                      floor.

            The pertinent part of the search warrant states:

                      In the Matter of the Search of

                      (Name,  address  or brief  description of
                      premises,  property  or  premises  to  be
                      searched)

                      Two bedroom first floor
                      apartment  of  the   residence     SEARCH
                                                         SEARCH
                      WARRANT
                      WARRANT
                      located at 156 Woodbine     CASE NUMBER: 
                      St.,  Cranston,  RI,  further     1:95-M-
                      020816
                      described as a three story,
                      wood framed building with
                      a yellow front, brown
                      trim and brown sides.


                                         -20-
                                         -20-















                      TO:             Any Special Agent of  the
                           ____________________________________
                      Secret  Service       and  any Authorized
                      _____________________
                      Officer of the United States

                      Affidavit(s) having been  made before  me
                      by        James  M. Barnard       who has
                         ______________________________
                      reason to believe that ____ on the person
                      of  or   x   on the property  or premises
                             ____
                      known   as   (name,  description   and/or
                      location) 

                      Two bedroom first floor apartment  of the
                      residence  located  at 156  Woodbine St.,
                      Cranston,  RI,  further  described  as  a
                      three story, wood framed building  with a
                      yellow front, brown trim and brown sides.
                      The number 156 appears  on a post next to
                      the  door on  the left  as one  faces the
                      building.   On  the  first floor  are two
                      apartments which are accessed through the
                      door marked 156.  The apartment for which
                      this warrant is sought is the two bedroom
                      apartment on the left  side of the  first
                      floor.

                      Defendants argue that the  warrant did not meet the

            particularity  requirement  of the  Fourth  Amendment.   They

            point  out correctly that the number 156 was on the left post

            at the top of the stairs  leading to the entrance landing and

            that the number 158  was on the right post at  the top of the

            stairs.   It is stated in defendant's brief at page 26:  "But

            the  warrant does not indicate which  direction one must face

            in  determining  right from  left."   This  statement  is not

            correct.  The warrant states:   "The number 156 appears on  a

            post next to the door on the left as one faces the building."
                                  _____________________________________

            (Emphasis added).  

                      Defendant  also argues  that,  because  of the  two

            different address numbers, those executing the warrant should


                                         -21-
                                         -21-















            have called  the Magistrate and clarified  what apartment was

            to  be  searched.   The  record  of  the suppression  hearing

            establishes conclusively that Agent Barnard knew exactly what

            apartment was to  be searched and  proceeded directly to  it.

            Barnard testified in effect as follows.

                      There  were  two  entrance doors  to  the  building

            containing  the apartment  to be  searched.   There  were two

            posts  on  either  side of  the  steps  when you  get  to the

            entrance landing.   The post  on the right-hand  side of  the

            steps as  one faced the  building had the  number 158 on  it.

            The  post on  the left  side carried  the number  156 on  it.

            Barnard entered  the building through the  156 door entrance.

            He took  a short  step  to the  right  and proceeded  down  a

            hallway to an  apartment on the left side of  the first floor

            of the  building.  This apartment had  the number 156A on the

            door.  This was the apartment that was searched.

                      One of defendants' arguments is that the defendants

            actually lived at 158  Woodbine Street, not 156.   The number

            on  the door of the apartment searched -- 156A -- effectively

            refutes this claim.

                      We find and rule  that an objective law enforcement

            officer would not  be confused by  the two different  address

            numbers and that the  particularity requirement of the Fourth

            Amendment was met.  The  only confusion was that sown  by the

            attorneys for the defendants at the suppression hearing.



                                         -22-
                                         -22-















                      Even, however, if the  address given in the warrant

            may have been  somewhat suspect our circuit case  law teaches

            that any  uncertainty raised by  the two address  numbers did

            not invalidate the search warrant.

                      The leading case in this circuit on the adequacy of

            the  description of  the  location to  be searched  is United
                                                                   ______

            Statesv. Bonner, 808 F.2d 864 (1st Cir. 1986).  In Bonner  we
            _______________                                    ______

            stated:

                      The manifest purpose of the particularity
                      requirement of the Fourth Amendment is to
                      prevent wide-ranging  general searches by
                      the police.

                           The   test   for   determining   the
                      adequacy  of  the   description  of   the
                      location  to be  searched is  whether the
                      description is sufficient "to  enable the
                      executing officer to locate  and identify
                      the premises with reasonable  effort, and
                      whether    there   is    any   reasonable
                      probability that another premise might be
                      mistakenly searched."

            Id.  at 866  (citations omitted).   In  Bonner the  affidavit
            ___                                     ______

            contained a detailed physical  description of the premises to

            be  searched and  its  address.   The  address, however,  was

            omitted  from the  warrant.   We upheld  the validity  of the

            warrant, stating:

                      We hold  that  the Bonner  residence  was
                      described with sufficient  particularity,
                      and    although     the    address    was
                      inadvertently   omitted,  there   was  no
                      reasonable   probability   that   another
                      premises  might  be mistakenly  searched;
                      thus, the search warrant was valid.




                                         -23-
                                         -23-















            Id. at 867.  Three subsequent cases have relied on the Bonner
            ___                                                    ______

            analysis and holding:   United States v. Cunningham,  No. 96-
                                    ___________________________

            1828  (1st Cir. May 19, 1997); United States v. Estrella, 104
                                           _________________________

            F.3d 3,  9 (1st Cir. 1997); United  States v. Hinds, 856 F.2d
                                        _______________________

            438, 441 (1st Cir. 1988).  This precedent seals the issue.  

                      We are  aware, of  course, that the  district court

            decided  the warrant issue on  the basis of  United States v.
                                                         ________________

            Leon, 468  U.S.  897  (1984).    We do  not  reach  the  Leon
            ____                                                     ____

            approach,  and  therefore,  there   is  no  need  to  discuss

            defendant'sclaim oflack ofgood faithby thesearching officers.

                      Defendant  also  claims  that  the  district  court

            abused  its  discretion  when  it raised  the  issue  of  the

            accuracy  of Cellular  One's Boston  Tracking Equipment,  but

            then  denied   defendant's  motion  to  have   the  equipment

            independently  examined.    The  record  of  the  suppression

            hearing  discloses that  this is  not exactly  what happened.

            The district court questioned COB employee Wade about how the

            source-location was determined.   She asked Wade "to tell  us

            how  the equipment works in order for  you to be able to make

            the determination  in laymen's  terms."  Wade  then explained

            what he  did and how  the equipment worked.   The court  then

            asked  further questions about what Wade did, and what he did

            or did not  tell Barnard.   The court's  examination of  Wade

            ended with the following colloquy:

                      Q.   So that before  the warrant  issued,
                      you  hadn't shown  the  equipment to  the


                                         -24-
                                         -24-















                      Government agents and  explained how  you
                      were able to isolate the signal?

                      A.   I don't believe I did.

                      Q.   Did they  ever ask you what  kind of
                      equipment you  were going  to  use to  do
                      this?

                      A.   No.

                      Q.   Did   they   ever   ask    you   the
                      reliability  of  the  equipment you  were
                      going to use?

                      A.   No.

                      We construe the court's  questions, not as evincing

            doubt  on  its part  as to  the  reliability of  the tracking

            equipment,  but  as   seeking  what  information  about   the

            equipment  had been given  to the government,  which was very

            little.

                      We agree  with the  district court that  the motion

            came  too late  for consideration.   Under  Fed. R.  Crim. P.

            16(a)(1)(C)  defendant had  a right  to inspect  the tracking

            equipment prior  to trial.  Clearly,  defendant never thought

            about  inspecting  the  equipment  until   the  court's  last

            question to Wade.   This was too late.   We have examined the

            record carefully and  there is nothing  to even suggest  that

            the  tracking equipment was unreliable  in any way.   We hold

            that the  district court did  not err in  denying defendant's

            motion.

                      The final issue is whether the district court erred

            in  determining  the amount  of  loss.   The  district  court


                                         -25-
                                         -25-















            ordered each defendant  to pay restitution  in the amount  of

            $190,275.33.    This  sum  represented the  amount  that  the

            defrauded  telephone companies  would have  been paid  if the

            calls had been  made legitimately.   Under U.S.S.G.    2B1.1,

            application note 2 states in pertinent part:  "Loss means the

            value  of   the  property   taken,  damaged,   or  destroyed.

            Ordinarily,  when property is taken  or destroyed the loss is

            the fair market value of  the particular property at  issue."

            The  pertinent part of  note 3 states:   "For the purposes of

            subsection  (b)(1),  the loss  need  not  be determined  with

            precision.  The court need only make a reasonable estimate of

            the loss, given the available information."

                      Defendants   assert  that   the  amount   used  was

            erroneous because it "reflects both the costs associated with

            processing  the calls  and  a profit  margin for  the various

            cellular  phone carriers and providers."   No cases are cited

            for this novel proposition.  Defendants rely on the following

            sentence  in application note 2  of U.S.S.G.    2B1.1:  "Loss

            does not include the interest that could have been earned had

            the funds not been stolen."

                      We  are not persuaded.  We do not think that profit

            can be equated with interest.  Profit is an ingredient of the

            fair  market value of goods or  services that can be sold and

            purchased.  





                                         -26-
                                         -26-















                      We  discern no  error, plain  or otherwise,  in the

            district court's determination of the amount of restitution.

                      The judgment of the district court is affirmed.
                                                            affirmed.
                                                            _________















































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